                        IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

JOSHUA WASHINGTON, #155202                                                               PLAINTIFF

v.                                                            CAUSE NO. 3:20-cv-105-HTW-LGI

OFFICER JORDAN MCQUEARY, et al.                                                      DEFENDANTS

                           REPORT AND RECCOMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

       Plaintiff Joshua Washington filed this pro se Complaint pursuant to 42 U.S.C. § 1983 and

the Prison Litigation Reform Act on or around February 23, 2020. This Court entered its Order

[3] soon thereafter, in which Plaintiff was notified that his failure to advise the Court of a change

of address may result in his case being dismissed without prejudice. In the Court’s Order [24]

entered on December 6, 2020, the Court directed Plaintiff to “file a written response to the Motion

for Summary Judgment Premised on Plaintiff’s Failure to Exhaust Grievance Procedures [21] on

or before January 6, 2021.” In the Court’s Order [28] entered on February 4, 2021, this Court

directed Plaintiff to “return a consent form to the Court by February 24, 2021 if Plaintiff still

desires to proceed under the jurisdiction of the Magistrate Judge by consent.” Plaintiff failed to

comply with Orders [24] and [28]. The Court entered a final Order to Show Cause [31] on March

2, 2021 notifying Plaintiff that “failure to advise the Court of a change of address or failure to fully

comply with the Court’s Orders to Show Cause will result in the dismissal of this case, without

further notice to the Plaintiff.” Plaintiff failed to comply with the Court’s Orders and has failed to

advise the Court of his change of address.

       The Court takes judicial notice of the Mississippi Department of Corrections website

(ms.gov/mdoc/inmate), which reflected that Plaintiff was moved to Central Mississippi

Correctional Facility (CMCF) Unit 720. The Court mailed the Orders to Show Cause [23], [28],
and [31] to CMCF Unit 720. The Court also takes judicial notice that the Mississippi Department

of Corrections website presently reflects that Plaintiff moved to Kemper Neshoba Correctional

Facility (KCCF) Zone B on March 11, 2021. The Court shall mail this Order to all three known

and potential addresses of Plaintiff (including the Rankin County Jail, CMCF, and KCCF).

However, the docket reflects that Petitioner has not provided this Court with a current address

since he was booked at the Rankin County Jail and he has not communicated with the Court since

his video appearance at the Omnibus Hearing on December 1, 2020. The undersigned therefore

recommends that Plaintiff’s § 1983 Complaint be dismissed for lack of a case or controversy.

       “Under Article III of the Constitution, federal courts may adjudicate only actual, ongoing

cases or controversies.” Lewis v. Continental Bank Corp., 494 U.S. 472, 477 (1990). The “case or

controversy” requirement subsists throughout the case during all stages, and a case becomes moot

if it no longer presents a case or controversy. Spencer v. Kemna, 523 U.S. 1, 7 (1998) (citing

Lewis, 494 U.S. at 477-78). Generally, any set of circumstances eliminating the controversy after

the lawsuit is filed renders the case moot. Center for Individual Freedom v. Carmouche, 449 F.3d

655, 661 (5th Cir. 2006). “A case becomes moot ‘when the issues presented are no longer live or

the parties lack a legally cognizable interest in the outcome.’” Valentine v. Pearson, No. 5:10-

CV-160-DCB-JMR, 2011 WL 2680716, at *2 (S.D. Miss. May 11, 2011) (quoting United States

v. Parole Comm’n v. Geraghty, 445 U.S. 388, 396 (1980)). A petitioner must demonstrate “some

concrete and continuing injury other than the now-ended incarceration or parole C some ‘collateral

consequence’ of the conviction.” Spencer, 523 U.S. at 7. Thus, “[f]or the courts to exercise

jurisdiction over a petitioner no longer in custody, that petitioner must demonstrate both that he

was in custody when he filed the petition, and that his subsequent release has not rendered the

petition moot.” Zalawadia v. Ashcroft, 371 F.3d 292, 297 (5th Cir. 2004).




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          Although Plaintiff Joshua Washington was in custody at Rankin County Jail when he filed

his Complaint, he has not made the requisite showing since his relocation. Consequently, he has

not demonstrated that his Complaint presents a concrete and continuing injury for this Court to

retain jurisdiction.

          The instant Complaint is also subject to dismissal for want of prosecution and failure to

comply with the Local Rules requirement to maintain a current address with the Court. See

McCullough v. Lynaugh, 835 F.2d 1126, 1127 (5th Cir. 1988) (explaining that, pursuant to Rule

41 of the Federal Rules of Civil Procedure, a district court possesses inherent authority to dismiss

an action for failure to prosecute or for failure to comply with a court order) (citing Link v. Wabash

Railroad Co., 370 U.S. 626, 630-31 (1962)). Whether a plaintiff is pro se, or incarcerated, he still

has an obligation to inform the Court of any address changes. “Every attorney and every litigant

proceeding without legal counsel has a continuing obligation to notify the clerk of court of address

changes.” See Local Rule 11(a); Wade v. Farmers Ins. Group, 45 F. App’x 323 (5th Cir. 2002)

(on appeal from district court’s denial of a motion for reconsideration of dismissal for failure to

prosecute -- even incarcerated litigants must inform the court of address changes).

          Given Plaintiff’s failure to demonstrate a continuing injury since his relocation, as well as

his failure to maintain a current address with the clerk of the court, the undersigned recommends

that his Complaint be dismissed without prejudice. Alternatively, if Petitioner files a timely

objection to this Report and Recommendation, demonstrating that his claims were not rendered

moot by his relocation and failure to update the Court, he should be allowed to proceed on his

claims.




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                         NOTICE OF RIGHT TO APPEAL/OBJECT

       Pursuant to Rule 72(a)(3) of the Local Uniform Civil Rules of the United States District

Courts for the Northern District of Mississippi and the Southern District of Mississippi, any party

within fourteen (14) days after being served with a copy of this Report and Recommendation, may

serve and file written objections. Within seven (7) days of the service of the objection, the

opposing party must either serve and file a response or notify the District Judge that he or she does

not intend to respond to the objection.

       The parties are hereby notified that failure to file timely written objections to the proposed

findings, conclusions, and recommendations contained within this Report and Recommendation,

shall bar that party, except upon grounds of plain error, from attacking on appeal the unobjected-

to proposed factual findings and legal conclusions accepted by the district court. 28 U.S.C. § 636;

Fed. R. Civ. P. 72(b) (as amended, effective December 1, 2009); Douglas v. United Services

Automobile Association, 79 F.3d 1415, 1428-29 (5th Cir. 1996).

       SO ORDERED this the 21st day of April, 2021.



                                                       __/s/ LaKeysha Greer Isaac_____________
                                                       UNITED STATES MAGISTRATE JUDGE




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